Case 18-56667-pwb            Doc 12       Filed 05/11/18 Entered 05/11/18 11:36:08                     Desc Main
                                          Document     Page 1 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                         )        CHAPTER 13
                                                               )
TAMEKA SHONTE WINTERS                                          )
                                                               )
                                    Debtor.                    )        CASE NO. 18-56667-PWB
---------------------------------------------------------------------------------------------------------------------
THE FRANKLIN JOHNSTON GROUP                                    )
A/A/F MAGNOLIA AT WHITLOCK,                                    )
                                                               )
                                    Movant,                    )
v.                                                             )
                                                               )        CONTESTED MATTER
                                                               )
TAMEKA SHONTE WINTERS, Debtor,                                 )
MARY IDA TOWNSON, Chapter 13 Trustee,                          )
                                                               )
                                    Respondents.               )

                             NOTICE OF ASSIGNMENT OF HEARING

          NOTICE IS HEREBY GIVEN that a Motion for Relief from Automatic Stay has been

filed in the above-styled case and a hearing will be held on the Motion for Relief from the

Automatic stay in Courtroom 1401, United States Courthouse, 75 Ted Turner Drive SW, Atlanta,

Georgia, at 1:30 p.m. on June 6, 2018.

          Your rights may be affected by the court’s ruling on these pleadings. You should read

these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

case. If you do not have an attorney, you may wish to consult one. If you do not want the court

to grant the relief sought in these pleadings or if you want the court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response to the

pleading with the Clerk at the address stated below, but you are not required to do so. If you file

a written response, you must attach a certificate stating when, how and on whom (including



                                                         1
Case 18-56667-pwb        Doc 12     Filed 05/11/18 Entered 05/11/18 11:36:08            Desc Main
                                    Document     Page 2 of 7


address) you served the response. Mail or deliver your response so that it is received by the

Clerk at least two business days before the hearing. The address of the Clerk’s Office is Clerk,

U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive SW (Spring Street), Atlanta, Georgia

30303. You must also mail a copy of your response to the undersigned at the address stated

below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of

filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the

automatic stay remaining in effect until the court orders otherwise.

Dated: May 11, 2018



                                                      /s/ J. Mike Williams
                                                      Attorney for Movant
                                                      State Bar No. 765209
                                                      2970 Clairmont Road
                                                      Suite 220
                                                      Atlanta, GA 30329
                                                      404-633-5114
                                                      mwilliams@apartmentlaw.com




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Case 18-56667-pwb            Doc 12       Filed 05/11/18 Entered 05/11/18 11:36:08                     Desc Main
                                          Document     Page 3 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                         )        CHAPTER 13
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TAMEKA SHONTE WINTERS                                          )
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                                    Movant,                    )
v.                                                             )
                                                               )        CONTESTED MATTER
                                                               )
TAMEKA SHONTE WINTERS, Debtor,                                 )
MARY IDA TOWNSON, Chapter 13 Trustee,                          )
                                                               )
                                    Respondents.               )

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW The Franklin Johnston Group a/a/f Magnolia at Whitlock, by and

through counsel, and hereby moves the Court as follows:

                                                         1.

          This Court has jurisdiction over this contested matter pursuant to 28 USC 1471 and 11

USC 362 and 363.

                                                         2.

          The Debtor filed a petition under Chapter 13 of the Bankruptcy Code on April 20, 2018.

                                                         3.

          Movant is the lessor of the premises where the Debtor resides at 925 Whitlock Avenue,

S.W., Apartment 2016, Marietta, Georgia 30064 (the “Premises”).




                                                         3
Case 18-56667-pwb        Doc 12     Filed 05/11/18 Entered 05/11/18 11:36:08          Desc Main
                                    Document     Page 4 of 7


                                                 4.

        Debtor leased said property from Movant under a written lease agreement at a monthly

rental rate of $908.00 with a late fee of $100.00.

                                                 5.

        The Debtor owes pre-petition rent and fees for the month of April 2018 in the amount of

$1,139.65 and post-petition rent and fees for the month of May 2018 in the amount of $1,090.49.

                                                 6.

        Pursuant to 11 USC 362, Movant is stayed from the commencement or continuation of

any court or other proceeding against Debtor to recover the leased premises.

                                                 7.

        Debtor has a mere possessory interest in the property.

                                                 8.

        By reason of the foregoing, continuation of the automatic stay of 11 USC 362(a) will

work real and irreparable harm to Movant.

                                                 9.

        Debtor is still in possession of the premises, and Movant is not adequately protected.

Therefore Debtor is required to return possession to the lessor.

        WHEREFORE, Petitioner prays for:

        1. An Order terminating the automatic stay and authorizing Movant to commence

            and/or continue with eviction proceedings in State Court;

        2. An Order requiring Debtor to assume or reject the residential lease agreement;

        3. Possession of the premises;

        4. A waiver of Bankruptcy Rule 4001(a)(3);

        5. Reasonable attorney’s fees; and/or

                                                 4
Case 18-56667-pwb      Doc 12     Filed 05/11/18 Entered 05/11/18 11:36:08   Desc Main
                                  Document     Page 5 of 7


       6. Such other and further relief as is just and proper.



       This the 11th day of May, 2018.



                                                    /s/ J. Mike Williams
                                                    J. Mike Williams
                                                    Attorney for Movant
                                                    State Bar No. 765209

2970 Clairmont Road
Suite 220
Atlanta, GA 30329
404-633-5114
mwilliams@apartmentlaw.com




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Case 18-56667-pwb            Doc 12       Filed 05/11/18 Entered 05/11/18 11:36:08                     Desc Main
                                          Document     Page 6 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                         )        CHAPTER 13
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TAMEKA SHONTE WINTERS                                          )
                                                               )
                                    Debtor.                    )        CASE NO. 18-56667-PWB
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                                    Movant,                    )
v.                                                             )
                                                               )        CONTESTED MATTER
                                                               )
TAMEKA SHONTE WINTERS, Debtor,                                 )
MARY IDA TOWNSON, Chapter 13 Trustee,                          )
                                                               )
                                    Respondents.               )

                                      CERTIFICATE OF SERVICE

          I, J. Mike Williams, of 2970 Clairmont Road, Suite 220, Atlanta, Georgia 30329 certify:

That I at all times hereinafter mentioned was more than 18 years of age;

That on May 11, 2018, I served a copy of the within NOTICE OF ASSIGNMENT OF

HEARING together with the MOTION FOR RELIEF FROM STAY filed in this bankruptcy

matter on the following respondents via U.S. First Class Mail addressed as follows:

          Mary Ida Townson
          Chapter 13 Trustee
          Suite 2200
          191 Peachtree Street, NE
          Atlanta, GA 30303-1740

          Tameka Shonte Winters
          925 Whitlock Ave SW Apt 2016
          Marietta, GA 30064




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Case 18-56667-pwb             Doc 12       Filed 05/11/18 Entered 05/11/18 11:36:08     Desc Main
                                           Document     Page 7 of 7


          Howard P. Slomka
          Slipakoff & Slomka, PC
          Overlook III - Suite 1700
          2859 Paces Ferry Rd, SE
          Atlanta, GA 30339

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.


Executed on: May 11, 2018                                        /s/ J. Mike Williams
                                                                 J. Mike Williams
                                                                 Attorney for Movant
                                                                 State Bar No. 765209

2970 Clairmont Road
Suite 220
Atlanta, GA 30329
404-633-5114
mwilliams@apartmentlaw.com



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